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                      UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                                 Eastern Division

Kevin Burnett
                               Plaintiff,
v.                                                 Case No.: 1:16−cv−04338
                                                   Honorable Robert W. Gettleman
Ford Motor Company
                               Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, August 7, 2017:


        MINUTE entry before the Honorable Mary M. Rowland: Status hearing previously
set for 9/7/17 is stricken. All matters relating to the referral of this action having been
concluded, the referral is closed and the case is returned to the assigned judge. Honorable
Judge Mary M. Rowland no longer referred to the case. Mailed notice. (dm, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
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